                Case: 24-1133           Document: 3    Page: 1     Filed: 11/22/2023




                                     2024-1133
                                     Applications in Internet Time, LLC v. Salesforce, Inc.
                                     Applications in Internet Time, LLC




    United States District Court
        for the District of Nevada
                                          3:13-cv-00628-RCJ-CLB                Patent




Reversal of grant of summary judgment of no infringement and invalidity and of denial of
summary judgment of no anticipation



Judgment of no infringement and invalidity of claims 1, 10, 20-21, 23-26, 30, and 40 of U.S.
Patent No. 7,356,482 and claims 13-17 of U.S. Patent No. 8,484,111 (“Asserted Claims”)



The district court granted Defendant’s motion for summary judgment of no infringement of all
Asserted Claims, granted Defendant’s motion for summary judgment of invalidity of all Asserted
Claims, and denied Plaintiff's motion for summary judgment of no anticipation of all Asserted Claims.

                                                                          9/12/22
    ✔
           Case: 24-1133       Document: 3      Page: 2       Filed: 11/22/2023




                                                          ✔




Construction of claim term “automatically detect[ing]”; infringement of the Asserted
Claims; validity of the Asserted Claims.


✔




    ✔




                                                                                  ✔




                                                                                  ✔



Resolution of the case without appellate review will not reverse the district court’s
finding of invalidity as a matter of law




        11/22/23                                 /s/ Michael DeVincenzo

                                                 Michael DeVincenzo
             Case: 24-1133        Document: 3       Page: 3     Filed: 11/22/2023




                                 PROOF OF SERVICE

       This is to certify that I have this day served the foregoing document upon counsel
through the Court’s CM/ECF system.


Dated: November 22, 2023                         Respectfully submitted,

                                                /s/ Michael DeVincenzo
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